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1    LAW OFFICES OF JOHNNY L. GRIFFIN III
     JOHNNY L. GRIFFIN III (SBN 118694)
2    SILKY SAHNAN (SBN 242850)
     1010 F STREET, SUITE 200
3    SACRAMENTO, CA 95814
     Telephone: (916) 444-5557
4    Facsimile: (916) 444-5558
5    Attorney for Defendant
     Gurminder Singh
6

7                              IN THE UNITED STATES DISTRICT COURT
8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,                              )   Case No.: 2:06-cr-00238-MCE
                                                            )
11                    Plaintiff,                            )   STIPULATION AND ORDER
                                                            )
12           vs.                                            )   DATE: August 7, 2008
                                                            )   TIME: 9:00 a.m.
13   JASWANT KAUR, SUCHA SINGH,                             )
     ARJINDER SINGH and GURMINDER                           )   Hon. Morrison C. England, Jr.
14                                                          )
     SINGH,
                                                            )
15                                                          )
16
                    Defendants.
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                Defendants, by and through their undersigned counsel, and the United States of
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     America, through Assistant United States Attorney Mary L. Grad, hereby agree and stipulate to
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     vacate the current status conference date of August 7, 2008 and set a trial confirmation hearing
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     on August 13, 20091 and set a trial date on September 14, 20092. The September 14, 2009 trial
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25   1
      If the parties reach a resolution prior to this date, counsel will recalendar the case for entry of plea(s).
     2
      The parties have been advised by this Court’s Clerk that August 13, 2009 and September 14, 2009 are available
     dates for a trial confirmation hearing and for a trial date on this matter
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1    date is the first available date wherein all defense counsel will be available for this anticipated
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     three/ four-week trial.
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                For these reasons, the parties stipulate and request that the Court exclude time within
4
     which the trial must commence under the Speedy Trial Act from August 7, 2008 through
5
     August 13, 2009, based on availability of defense and counsel defense preparation under 18
6
     U.S. C. § 3161(h)(8)(B)(iv) (Local Code T4).
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                Dated: August 4, 2008                         Respectfully submitted,
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                                                              /s/ Mary L. Grad3
9                                                             MARY L. GRAD
                                                              Assistant United States Attorney
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11
                Dated: August 4, 2008                        /s/ Johnny L. Griffin, III
12
                                                            JOHNNY L. GRIFFIN, III
13                                                          Attorney for Defendant
                                                            Gurminder Singh
14
                Dated: August 4, 2008                          /s/ Mark J. Reichel4__
15                                                            MARK J. REICHEL
                                                              Attorney for Defendant
16                                                            Jaswant Kaur
17              Dated: August 4, 2008                        /s/ John P. Brennan___
                                                            JOHN P. BRENNAN
18
                                                            Attorney for Defendant
19
                                                            Sucha Singh

20              Dated: August 4, 2008                        /s/ Jay Griener_____
                                                           JAY GRIENER
21                                                         Attorney for Defendant
                                                           Arjinder Singh
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     3
         Mary Grad telephonically authorized attorney Johnny L. Griffin, III to sign this Stipulation on her behalf.
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     4
       Attorneys Mark Reichel, John P. Brennan and Jay Griener telephonically authorized attorney Johnny L. Griffin, III
     to sign this Stipulation on their behalf.
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1                                                    ORDER
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             Based on the stipulation of the parties and good cause apparent therein, the Court
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     hereby finds that the failure to grant a continuance in this case would deny Defendants
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     counsel reasonable time necessary for effective preparation, taking into account the exercise
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     of due diligence. The Court specifically finds that the ends of justice are served by the
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     granting of such continuance and outweigh the interests of the public and the Defendants in
7
     a speedy trial.
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             Based on these findings and pursuant to the stipulation of the parties, the Court
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     hereby adopts the stipulation of the parties in its entirety as its order.
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             IT IS SO ORDERED.
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     DATED: August 7, 2008
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                                                 __________________________________
14                                               MORRISON C. ENGLAND, JR
                                                 UNITED STATES DISTRICT JUDGE
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